Case 3:17-CV-05806-R.]B Document 2 Filed 10/09/17 Page 1 of 2
CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither re lace nor sup]l:\_}ement the filin and service ofpleadings or other papers as re uired by law, except as

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provided by local rules ofcourt. This form, approved by the Judictal Con erence ofthe

nited States in eptember 1974, 15 required f`or the \.Lse ofthe lerk och)urt for the

purpose of initiating the civil docket sheet. rSE£ INSTRUC`TI'ON.S ON NE.\T PAGE UF TH.'S FORM)

 

1. (a) PLAINTIFFS
State 01 Washington

(b) Cou.nty of Residence of First Listed P|aintiff

Thurston, Washington

(£`.\'CEPTIN U.S. PL»IINTIFF C'ASESJ

(C) Altot't‘teys (Firm Namc, Address. and Tei'ephone Number) _
Robert W_ Ferguson, La Ftond Baker, Marsha Chlen

Olfice of the Attorney Genera|, State of Washington
800 Fifth Avenue, Suite 2000, Seatt|e. WA 98104 Ph: 206-464-7744

DEFENDANTS
The GEO Group, lnc.

County of Residence of Firsl Listed Defendant WE.‘S! Palt'|"l Beach, FiB.
f[N U.S. PL'UNTIFF CASES ONLY)

NOTEI iN LAND CONDEMNAT]ON CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.
Allt]rt'l.€y$ (U'Known)

Joan Nlel|, ||| Branches Law, PLLC
1019 Ftegents B|vd. Ste. 204, Fircrest, WA 98466 Ph: 253-566-2510

 

 

lI. BAS!S OF JUR]SDICTION (Placean ".Y" in Omz Bv,rOni_‘i')

 

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(For Dr'versi!_v C`ases Om'_v) and Une Bo.rj?)r Defendanr,i

 

 

 

 

 

 

 

 

 

 

 

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Defendant (Indr'cnrc Ciri:enship anar!ies in Ilem fH) of Business in Ano\her State
Citizen or Sut‘)ject oi`a Cl 3 Cl 3 Foreign Nation Cl 6 Cl 6
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E| 130 Miller Act El 315 Airp|ane Product Product Liabilicy EI 690 Other 28 USC 157 3729(:1))
Cl 140 Negotiable instrument liability CI 367 Hea]th Cnre/ C| 400 State Reappertionment
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Cite e U. .Civil Statute under which ou are filing (Da nor cire jurisdictional statutes unless diversinl):
28 U..Sé.1442; preemption de ense.

Vl. CAUSE OF ACTlON

 

Bn‘ef_descripli

 

n oi`_cause:
C|atms for 1) vlo|at

inn 01 state minimum wage |aw; and (2) unjust enrichment

 

Vll. REQUESTED IN

COMPLA[NT:

UNDER R.ULE 23, F.R.CV.P.

13 CHECK lF THlS IS A CLASS Af'l`-l_()l"i

DEMAND 5

CHECK YES only if demanded in complaint:

.IURY DEMAND:

13 Yes E(No

 

 

 

 

vm. RELATED CASE(S) _ _ 41 `
IF ANY (S“ "“""‘"°"”" J DGE B,Wan _ DOCKET NUMBER 3'17`°"'05769
DATE lF ATTORNEY OF RE _E
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FOR OFFICE USE ONLY

RECEEPT #

AMOUNT

   

'_ AP LY|NG IFP

JUDGE

MAG. JUDGE

Case 3:17-CV-05806-R.]B Document 2 Filed 10/09/17 Page 2 of 2

JS 44 Reverse [Rev. ll¢'lS)

INSTRUCTlONS FOR ATTORNEYS COMPLETING CIVlL COVER SHEET FORM JS 44
Author'ity For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This fon'n, approved by the Judicial Conference of the United States in September 1974, is
required for the use ofthe Clerk of Courl for the purpose of`initiatirig the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

l.(a)

(b)

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lI.

Ill.

IV.

Vl.

Vll.

VlIl.

Plaintil'fs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant lf the plaintiff or defendant is a government agency, use
only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
then the official, giving both name and title.

County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name ofthe county where the first listed plaintiff resides at the
time of filing. ln U.S. plaintiff`cases, enter the name ofthe county in which the first listed defendant resides at the time of filing. (NOTE: ln land
condemnation cases, the county of residence of the "defendant" is the location of the tract of`land involved.)

Attorneys. Enter the firm name, address, telephone number, and attorney ofrecord. ll`there are Several attorneys, list them on an atlachmenl, noting
in this section "(see attachment)".

Jurisdiction. The basis of jurisdiction is set forth under Rule S(a), F.R.Cv.P., which requires thatjurisdictions be shown in pleadings. Place an "X"
in one of the boxes. if there is more than one basis of jurisdiction, precedence is given in the order shown below.

United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendantl (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.

Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
to the Constitution, an act of Congress or a treaty of the United States. ln cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
precedence, and box l or 2 should be marked.

Diversity ofcitizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens ofdifferent states. When Box 4 is checked, the
citizenship of the different parties must be checked (See Section 111 below; NOTE: federal question actions take precedence over diversity
cases.)

Residence (citizenship) of Principal Parties. This section ofthe JS 44 is to be completed ifdiversity of citizenship was indicated above. Mark this
section for each principal party.

Nature of Suit. Placc an "X" in the appropriate box. lf the nature of suit cannot be determined be sure the cause of action, in Section VI below, is
sufficient to enable the deputy clerk or the statistical clerk(s) in the Administrative Office to determine the nature of suit. lf' the cause fits more than
one nature of suit, select the most definitivel

Origin. Place an "X" in one ofthe six boxes.

Original Proceedings. (1) Cases which originate in the United States district courts.

Removed from State Court. (2) Procecdings initiated in state courts may be removed to the district courts under Title 28 U.S.C.1 Section 1441.
When the petition for removal is granted, check this box.

Remanded from Appcllate Court. (3) Checl< this box for cases remanded to the district court for further action. Use the date of remand as the filing
date.

Reinstated or Reopened. (4) Checl< this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(21). Do not use this for within district transfers or
multidistrict litigation transfers

Mu|tidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority ofTitle 23 U.S.C. Section 1407.
When this box is checked, do not check (5) above.

Cause of Action. Report the civil statute directly related to the cause ofaction and give a brief description of`the cause. Do not cite jurisdictional
statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

Requested in Complaint. Class Action. Place an "X" in this box ifyou are filing a class action under Ru|e 23, F.R.Cv.P.
Demand. ln this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunctionl
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded

Related Cases. This section of the .lS 44 is used to reference related pending cases, if any. lf there are related iteming CaS€S, insert the docket
numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.

